




Becker v. State



COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS




IN RE: ERIC FLORES,





Relator.
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No. 08-08-00328-CR


			

AN ORIGINAL PROCEEDING 

IN MANDAMUS








MEMORANDUM OPINION 

ON PETITION FOR WRIT OF MANDAMUS

	Relator, Eric Flores, seeks a writ of mandamus to compel the Honorable Julie Gonzalez,
Judge of El Paso County Court at Law No. 2, to "set a pretrial setting to hear relator's writ of
Habeas Corpus based on the offense of harassment."

	In order to obtain relief through a writ of mandamus, a relator must establish:  (1) no
other adequate remedy at law is available; and (2) that the act he seeks to compel is ministerial. 
State ex rel. Young v. Sixth Judicial Dist. Court of Appeals At Texarkana, 236 S.W.3d 207
(Tex.Crim.App. 2007).  An act is ministerial if it does not involve the exercise of any discretion. 
State ex rel. Hill v. Court of Appeals for the Fifth District, 34 S.W.3d 924, 927 (Tex.Crim.App.
2001).  Based on the petition and record provided, Mr. Flores has not demonstrated he is entitled
to mandamus relief.  See Tex.R.App.P. 52.8.  We therefore deny relator's request.




December 18, 2008				DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, and Rivera, JJ.


(Do Not Publish)


